  Case 2:21-cv-00316 Document 408 Filed 06/22/22 Page 1 of 6 PageID #: 29126




                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

 B.P.J. by her next friend and mother, HEATHER
 JACKSON,

                             Plaintiff,

                       v.                                Civil Action No. 2:21-cv-00316

 WEST VIRGINIA STATE BOARD OF                            Hon. Joseph R. Goodwin
 EDUCATION, HARRISON COUNTY BOARD
 OF EDUCATION, WEST VIRGINIA
 SECONDARY SCHOOL ACTIVITIES
 COMMISSION, W. CLAYTON BURCH in his
 official capacity as State Superintendent, DORA
 STUTLER in her official capacity as Harrison
 County Superintendent, and THE STATE OF
 WEST VIRGINIA,

                             Defendants,

                       and

 LAINEY ARMISTEAD,

                             Defendant-Intervenor.


 PLAINTIFF’S MOTION IN LIMINE TO EXCLUDE DEFENDANT STATE OF WEST
     VIRGINIA’S EXHIBIT H AND SUPPORTING MEMORANDUM OF LAW

       Plaintiff B.P.J., by and through her next friend and mother, Heather Jackson, hereby moves

the Court to exclude Defendant State of West Virginia’s (“State”) Exhibit H (Dkt. No. 285-8) as

inadmissible pursuant to Federal Rule of Evidence 401, 402, 403, 702, and 1006.


                                           ARGUMENT

       The State’s Exhibit H (Dkt. No. 285-8) should be excluded at trial. Exhibit H contains a

series of four apparently homemade charts (Exs. H-1–H-4). The State asserts that Exhibit H is

admissible under Rule 1006 (Dkt. No. 337 (State Reply) at 15), and seeks to rely on the Exhibit to

                                                1
  Case 2:21-cv-00316 Document 408 Filed 06/22/22 Page 2 of 6 PageID #: 29127




support assertions regarding alleged differences in athletic performance between boys and girls.

(See Dkt. No. 287 (State MSJ) at 14–17.) But this Exhibit is inadmissible under Federal Rules of

Evidence 401, 402, 403, 702, and 1006 and should be excluded.

       To    comply     with    Rule    1006,    “a   chart    summarizing     evidence     must    be

an accurate compilation of the voluminous records sought to be summarized.” United States v.

Janati, 374 F.3d 263, 272 (4th Cir. 2004). The chart may not be “a skewed selection of some of

the documents to further the proponent’s theory of the case.” United States v. Oloyede, 933 F.3d

302, 310–11 (4th Cir. 2019). In addition, the material being summarized must be otherwise

admissible. See Janati, 374 F.3d at 272 (“the records summarized must otherwise be admissible

in evidence”). Among other things, evidence must be relevant in order to be admissible. Fed. R.

Evid. 402. For evidence to be relevant, it must have a tendency to make the existence of any “‘fact

[that] is of consequence in determining the action’ ‘more or less probable than it would be without

the evidence.’” Fed. R. Evid. 401. And even when evidence is relevant, if its probative value is

substantially outweighed by the danger of “unfair prejudice, confusing the issues, misleading the

jury, undue delay, wasting time, or needlessly presenting cumulative evidence,” that evidence

should be excluded. Fed. R. Evid. 403.

       The only possible basis for admitting Exhibit H as a demonstrative would be if it accurately

summarized the testimony of Defendants’ proposed expert Dr. Gregory Brown and if Dr. Brown’s

testimony was otherwise admissible. This path fails for multiple reasons.

       To start, the charts were never presented as part of Dr. Brown’s expert testimony, attached

to an expert report, or produced anywhere else in the record. (Dkt. No. 285-8 (State Exhibit H).)

Though the State claims that Exhibit H is admissible because “Dr. Brown cites those studies in his

expert report,” (Dkt. No. 337 (State Reply) at 15), the Exhibit in fact refers to certain findings from



                                                  2
  Case 2:21-cv-00316 Document 408 Filed 06/22/22 Page 3 of 6 PageID #: 29128




David J. Handelsman and Espen Tonnessen that Dr. Brown conspicuously failed to include in his

expert testimony. (See Dkt. No. 285-8 (State Exhibit H) at H-1; see Dkt. No. 316 (Brown Daubert

Mot.) at 15–16.) The Exhibit is thus not an accurate “summary” of Dr. Brown’s testimony and is

inadmissible under Rule 1006. See Janati, 374 F.3d at 272.

       Moreover, even if Exhibit H were to represent a summary of Dr. Brown’s testimony (which

it does not), that testimony is subject to a pending Daubert motion. As discussed in that motion,

Dr. Brown’s testimony regarding transgender girls who receive puberty-delaying medication is

unreliable under Rule 702 because, inter alia, the testimony draws speculative inferences about

transgender girls based on comparisons of cisgender prepubertal boys and cisgender prepubertal

girls, based on physical fitness studies of the population at large, and based on raw data from a

single year’s worth of competition. (See Dkt. No. 316 (Brown Daubert Mot.) at 8–17.) For all the

same reasons that Dr. Brown’s testimony about those studies is unreliable under Rule 702, a

demonstrative about those studies is also inadmissible. Janati, 374 F.3d at 272 (noting that the

records summarized by a demonstrative must be otherwise admissible).

       Even were Exhibit H to summarize otherwise admissible evidence (which it does not), the

State’s homemade charts should nonetheless be excluded because they are misleading under Rule

403 and inaccurately reflect the purported underlying materials under Rule 1006. See Janati, 374

F.3d at 272. Chart H-1, for example, appears to be a conglomeration of seven different studies

compared under two different units of measurement. (See Dkt. No. 285-8 (State Exhibit H) at H-1

(alternating between using “Seconds” and “Stages” as a form of measurement).) The Chart thus

inaccurately suggests that a set of data are comparable when, in fact, they are not. In addition, two

of the charts in Exhibit H are vaguely characterized as indicating “male advantage over female.”

(See Dkt. No. 285-8 (State Exhibit H) at H-1, H-4.) But that labeling improperly extrapolates from



                                                 3
  Case 2:21-cv-00316 Document 408 Filed 06/22/22 Page 4 of 6 PageID #: 29129




what appears to be actually portrayed in the charts—race results. The State’s unsubstantiated

suggestion that a discrete set of race results implies a generalized, overall athletic “advantage”—

in addition to being inaccurate—would be misleading to any potential advisory jury and unduly

prejudicial to B.P.J. under Rule 403.

       Finally, Exhibit H should also be excluded because it is irrelevant. The charts either purport

to compare cisgender boys and cisgender girls, or involve only adult transgender women. B.P.J. is

not cisgender and is not an adult. (See, e.g., Dkt. No. 285-8 (State Exhibit H) at H-1 (“11 Years

Old Male Advantage Over Female”); H-2 (“2021 West Virginia 6th Grade Average Time Top 10

Finishers Percent Differece [sic] Between Boys and Girls”); H-4 (“Tambalis 2015 Greek Study -

Male Advantage Over Female (Sample Size Over 424,000)”).) Because none of the charts reflect

content applicable to B.P.J., a twelve-year-old transgender girl on puberty blockers, they should

be excluded as irrelevant.

                                         CONCLUSION

       Plaintiff respectfully requests that the Court preclude Defendants from offering Defendant

State of West Virginia’s Exhibit H (Dkt. No. 285-8) at trial.




                                                 4
 Case 2:21-cv-00316 Document 408 Filed 06/22/22 Page 5 of 6 PageID #: 29130




Dated: June 22, 2022                        Respectfully Submitted,
                                            /s/ Loree Stark
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                                        5
  Case 2:21-cv-00316 Document 408 Filed 06/22/22 Page 6 of 6 PageID #: 29131




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                             Defendants,

                       and

 LAINEY ARMISTEAD,

                             Defendant-Intervenor.


                                CERTIFICATE OF SERVICE

       I, Loree Stark, do hereby certify that on this 22nd day of June 2022, I electronically filed

a true and exact copy of the Plaintiff’s Motion In Limine to Exclude Defendant State of West

Virginia’s Exhibit H and Supporting Memorandum of Law with the Clerk of Court and all parties

using the CM/ECF System.


                                                    /s/ Loree Stark
                                                    Loree Stark
                                                    West Virginia Bar No. 12936



                                                6
